       Case 4:10-cr-00089-BSM           Document 88     Filed 06/09/11     Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                NO. 4:10CR00089-03 BSM

RANDY STEVEN BATES                                                             DEFENDANT

                                           ORDER

       Melinda Gore, Mandy Warford, Glenn Smith, and Sandy Sanders are hereby

authorized to bring a cell phone, laptop computer, or personal digital assistant into the

Richard Sheppard Arnold United States Courthouse in Little Rock beginning Monday, June

13, 2011, and each day thereafter until the trial is completed in the above styled case, subject

to the following rules:

       (a)    The devices mentioned above may not be used to record, photograph, or film

              anyone or anything inside the courthouse.

       (b)    Cell phones must be turned off and put away when in the courtroom.

       (c)    Wireless internet components of electronic devices must be deactivated when

              in district courtrooms.

       (d)    Before persons with electronic devices are granted entry into the courthouse,

              all devices must be examined by the United States Marshals Service or Court

              Security Personnel. This examination includes, but is not limited to placing

              the devise through electronic screening machines and requiring the person

              possessing the device to turn the power to the device off and on.
       Case 4:10-cr-00089-BSM        Document 88        Filed 06/09/11     Page 2 of 2




      (e)    The United States Marshals Service may further restrict electronic devices

             from entering the building should a threat assessment so dictate.

      A violation of paragraph (a), (b), or (c) may result in seizure of the electronic devices,

withdrawal of the privilege to bring an electronic device into the courthouse, or other

sanctions. A violation of the prohibition on recording, photographing, or filming anyone or

anything inside the courthouse may be punished as contempt of court.

      IT IS SO ORDERED this 9th day of June 2011.




                                                  UNITED STATES DISTRICT JUDGE
